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                                                                                                  United States District Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                                                                                                       May 15, 2020
                               UNITED STATES DISTRICT COURT
                                                                                                    David J. Bradley, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

UNITED STATES OF AMERICA,                               §
                                                        §
        Plaintiff,                                      §
VS.                                                     § CIVIL ACTION NO. 7:20-cv-00066
                                                        §
0.501 ACRES OF LAND, MORE OR                            §
LESS, SITUATED IN HIDALGO                               §
COUNTY, TEXAS; JOHNNY R. HART;                          §
and JENNIFER L. HART, et al.                            §
                                                        §
        Defendants.                                     §

                                                   ORDER

        The Court now considers the “Unopposed Motion of the United States of America for

Order of Immediate Possession”1 and “Defendants’ Johnny R. Hart and Jennifer L. Hart’s

Unopposed Motion for Jury Trial.”2 Because the motions are unopposed, the Court considers

them as soon as practicable.3 After considering the motions, record, and relevant authorities, the

Court GRANTS both motions.

    I. MOTION FOR IMMEDIATE POSSESSION

        This is a land condemnation case under the Declaration of Taking Act4 concerning Tracts

RGV-MCS-2206, RGV-MCS-2207, and RGV-MCS-2207-1 as described in the United States’

Schedule C, approximately 0.501 acres of land in Hidalgo County, Texas (the “Subject

Property”).5 The United States initiated this case on March 10, 2020, with a complaint in



1
  Dkt. No. 10.
2
  Dkt. No. 15.
3
  LR7.2 (“Motions without opposition and their proposed orders must bear in their caption ‘unopposed.’ They will
be considered as soon as it is practicable.”).
4
  See 40 U.S.C. §§ 3111–18.
5
  See Dkt. No. 1-1 at 6–14, 26.


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condemnation,6 declaration of taking,7 and notice of condemnation concerning the case.8 The

United States seeks to acquire the Subject Property in fee simple interest.9 “The United States

will use this property to construct, install, operate, and maintain roads, fencing, vehicle barriers,

security lighting, cameras, sensors, and related structures designed to help secure the United

States/Mexico border within the State of Texas.”10 The United States deposited $43,842 and

$392,159 for a total of $436,001 in estimated just compensation.11

         The United States listed five interested parties on its schedule G: Defendants Johnny R.

Hart, Jennifer L. Hart, the U.S. Small Business Administration, Ray A. Gonzales as trustee for

Falcon International Bank, and Hidalgo County as the taxing authority for the Subject Property. 12

To date, only Defendants Johnny R. Hart and Jennifer L. Hart have answered or appeared.13

Plaintiff United States represents that it conferred with “attorneys for defendants and the

defendants are not opposed to” the motion for immediate possession.14 In any case, the time for

response to the United States’ motion has passed and the motion is considered unopposed by all

Defendants under this Court’s Local Rule.15

         Accordingly, pursuant to the Declaration of Taking Act16 and the unopposed motion, the

Subject Property vests in the United States in accordance with its Schedule E:



6
  Dkt. No. 1.
7
  Dkt. No. 2.
8
  Dkt. No. 3.
9
  See 40 U.S.C. §§ 3111–18.
10
   Dkt. No. 10 at 2, ¶ 3.
11
   See Dkt. Nos. 6–7, 9.
12
   Dkt. No. 1-1 at 31.
13
   See Dkt. No. 12.
14
   Dkt. No. 10 at 5.
15
   LR7.4 (“Failure to respond to a motion will be taken as a representation of no opposition.”).
16
   40 U.S.C. § 3114(b)(1) (“On filing the declaration of taking and depositing in the court, to the use of the persons
entitled to the compensation, the amount of the estimated compensation stated in the declaration, title to the estate or
interest specified in the declaration vests in the Government.”); see Kirby Forest Indus. v. United States, 467 U.S. 1,
5 (1984) (“Title and right to possession thereupon vest immediately in the United States.”); United States v. Miller,
317 U.S. 369, 381 (1943).


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         The estate taken is fee simple, subject to existing easements for public roads and
         highways, public utilities, railroads, and pipelines; and subject to all interests in
         minerals and appurtenant rights for exploration, development, production and
         removal of said minerals; Reserving to the owners of the lands identified in the
         following Warranty Deed(s) Document No. 1998-656429, Official Records of
         Hidalgo County (O.R.H.C.), Document No. 2005-1459757, Official Records of
         Hidalgo County (O.R.H.C.), and Document No. 1999-820043, Official Records of
         Hidalgo County (O.R.H.C.); (Hidalgo County Appraisal District Property ID Nos.
         1013698, 271342, and 271338), reasonable access to and from the owners’ lands
         lying between the Rio Grande River and the border barrier through opening(s) or
         gate(s) in the border barrier between the westernmost mark labeled “Beginning”
         and easternmost mark labeled “Ending” depicted on the map [in Schedule E];
         Excepting and excluding all interests in water rights and water distribution and
         drainage systems, if any, provided that any surface rights arising from such water
         rights or systems are subordinated to the United States’ construction, operation
         and maintenance of the border barrier.17

The Court accordingly GRANTS the motion18 and ORDERS that the United States is entitled to

immediate possession of the Subject Property consistent with the above description to “construct,

install, operate, and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors,

and related structures designed to help secure the United States/Mexico border within the State

of Texas.”19

     II. MOTION FOR JURY TRIAL

         Defendants argue that they should be entitled to a jury trial on the issue of just

compensation in this case.20 The United States is unopposed.21 Under Federal Rule of Civil

Procedure 71.1(h)(1), the Court shall grant trial by jury on the issue of compensation “when a

party demands one within the time to answer or within any additional time the court sets, unless

the court appoints a commission.”




17
   Dkt. No. 1-1 at 26–27.
18
   Dkt. No. 10.
19
   Dkt. No. 1-1 at 4.
20
   Dkt. No. 15 at 1–2, ¶¶ 3–6.
21
   Id. at 3.


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        Here, Defendants Johnny R. Hart and Jennifer L. Hart timely demanded a jury trial in

their answer.22 A commission shall be appointed only in “exceptional” circumstances, 23 and the

Court does not find this case to be one of exceptional circumstances or complexity because it has

been presented with no reason to so conclude. Accordingly, the Court GRANTS Defendants’

motion for a jury trial on the issue of just compensation.

        This Court’s scheduling order24 is hereby modified by the following case-specific

scheduling order which controls disposition of this action pending further order of the Court. The

following actions shall be completed by the dates indicated:



                                 [see scheduling order on following page]




22
   Dkt. No. 12 at 1, ¶ 2.
23
   United States v. 320.0 Acres of Land in Monroe Cty., 605 F.2d 762, 827–28 (5th Cir. 1979).
24
   Dkt. No. 14.


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           PRETRIAL EVENTS                                        DEADLINES

Deadline to file all documentation adding,
substituting, disclaiming, or dismissing
interested parties.
                                                   July 7, 2020
Note: If necessary, the United States shall
also file amended condemnation documents
or an amended Schedule GG.

Deadline for Defendants to designate expert
witnesses and provide expert reports in
                                                   September 4, 2020
accordance with Federal Rule of Civil
Procedure 26(a)(2).

Deadline for Plaintiff to designate expert
witnesses and provide expert reports in
                                                   October 5, 2020
accordance with Federal Rule of Civil
Procedure 26(a)(2).

Discovery deadline.                                November 4, 2020

Pretrial conference and trial scheduling.          January 19, 2021 at 9:00 a.m.


       This Scheduling Order supersedes any earlier Scheduling Order, is binding on all parties,

and shall not be modified except by leave of Court upon showing of good cause. All other

deadlines not specifically set out in this Scheduling Order will be governed by the Federal Rules

of Civil Procedure and this Court’s Local Rules.

       IT IS SO ORDERED.

       DONE at McAllen, Texas, this 14th day of May 2020.


                                                   ___________________________________
                                                                Micaela Alvarez
                                                           United States District Judge




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